"t                                                                 ' m:+c^HL7
                                           UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA
          2
              In re:                                                     Chapter 11
          3
              PRM FAMILY HOLDING COMPANY, L.L.C., el al.,                Case No. 2:13-bk-09026-BKM
          4
                             Debtors.                                    (Jointly AdmhUstemi)
          5
          6   DALE SCHIAN, CREDITOR TRUSTEE OF THE
              PRM FAMILY HOLDING COMPANY, L.L.C.
          7   CREDITOR TRUST,

          8
                             Plaintiff,                                  Adv. Pro. No. 2:1 5-ap-00498-BKM
          9
              V.
     10
              SECURITY NETWORK,                                          GARNISHEE'S ANSWER
     li

     12                      Defendant,
                                                                         "°""'"E'! L E D
     13       WELLS FARGO BANK, N.A.,
                                                                                             APR04 2016
     14                      Garnishee.
              This Filing Applies to:
     15       a All Debtors                                                           ·       UNITED STATES    "'
              ® Specified Debtors                                                 mRm'1k|m&NA
     16
                   Petitioner/Pjaintiff: [ X ] Judgment Creditor [ ] Judgment Debtor
     17            Name: Dale Schiw Creditor Trustee of the PRM Family Holding Company, L.L.C. Creditor Trust
                   Address: clo Freeborn and Peters, LLP, 311 South Wacker Drive, Ste. 3000
     18
                   City, State, Zip Code: Chicago, IL 60606
     19            Phone(s): 3!2.360.6000

     20            Respondent/Defendant: [ ] JMgment Creditor [ X ] Judgment Debtor
                   Name: Securijy Network
     21            Address: clo Ofiicer or RegistEred Agent, 6793 Carnelian St.
                   City, State, Zip Code: Alta Lorna, CA 91701
     22
                   Phone(s):
     23
                   Name of Person Filing this Answer:
     24            Mailing Address:                                                       w, ,, $ =wjn Aap<
                   City, State, Zip Code:                                                  Lzvy PHOCESSING
                                                                                            |V|/'Lbj 3&a"lkl
     25            Daytime Phone:                     Alternate Phone:                         PO BOX 29779
                   Representing: [ ] Self [ ] Attorney [ ] Other                           PHOENIX, AZ 85038
     26            State Bar No. (if applicable):                                         PHCINF' 480-724-2000
                                                                                            f "' ::: :"': ' ni




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    CAUTION: Failure to file a Garnishee's Answer can resultin an order being entered agaiost you in the full amount of
    the debt owed by the judgment debtor to the judgment creditor. This can happen even if you do nut know the
    judgment debtor or do not owe the judgment debtor any money or property.

        ]. I am the garnishee or I am authorized by the garnishee to complete and file this Answw. The

            word 'money' as used in this Answer does not refer to wages. Garnishee's name, address and

            phone are as follows:
                                                                            wElwg:,ao%=g'
                    Name: Wells Fargo Bank, N.A.                               MAC S3928-021
                    Address:                                                    PQ Box 29779
                                                                             PfiOENlX, AZ 85U3b
                    City, State, Zip Code:                                  PHONE ¥U-/L4-LU'J(f
                    Phone(s):                                                 FAX: 866-670-156}
                    Attorney:
                                                                                                            1




        2. The statements checked below were true at the time the Writ was served:             3 jin\" u
              (Check all boxes that apply and Rll in blanks for each box checked)

               AAA<as not holding personal µopeny o' "°""'Nb%t° mmund

               B. [ ] j owedjudgrnent debtor $                                                    .I am withholding
                   $                         pursuant to the Writ.

               C. [ j ] released $                                      because




                D. [ ] I was in possession of the following personal property belonging to the judgment
                   debtor:                                                                                       (attach
                   list if necessaiy). I am holding                                                              (attach
                   listif necessary) pursuant to the Writ.

                E. [ ] Garnishee is a corporation in which the judgment debtor owns these shares or interest:


                   (attach list if necessary).

         3. The following person/organization holds personal property or money which belongs to judgment

             '"'"m                               Unknomi
         4. Garnishee requests an answer fee in the amount of $                 "~                      , as a

             reasonable amount for the preparation and filing of this Answer.




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     Copies of the Answer, Writ of Garnishment and          Copy of the Answer provided to judgment
 1   Summons, Notice m Judgment DebtoT of                   creditor on:
     Garnishment, Notice of Hearing form, Request
 2
     for Hearing form and a copy of the underlying          Dat,,            APR 0 1 2016
 3   judgment were provided to judgment debtor on:
                                                            By:          yrMai]               [ ] Hand Delivery
 4
     D,,,,             N/a                                  [ ] Constable, Deputy Sheriffor Process Server
 5   By:      [ ] Mail       [ ] Hand Delivery
     [ ] Constable, Deputy Sherifor Process Server
 6

 7   I affirm that the information on this Garnishee's Answer 18 true         ¶cj correct.

 8
                     apr012016                              itµ
                                                                              m°'""=rg"'
 9         Date                                       s'jat&\' ¶              ishee or Authonzbv Agent
10                                                                                                      \-J
     STATE OF ARIZONA            )
1!
     Coun,, of Yam"                                        '\ -j
12
13                                                                             APR012016                I"
           Subscribed and sworn or aRirmed before me on
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                                                                                            COUNTY             ,;
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